                                            1:19-cv-01143-CSB # 58        Page 1 of 2
                                                                                                                       E-FILED
AO 458 (Rev. 06/09) Appearance of Counsel                                              Monday, 13 March, 2023 11:49:12 AM
                                                                                             Clerk, U.S. District Court, ILCD
                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                 Central District
                                                __________          of__________
                                                           District of Illinois

                          Mark Scott                            )
                             Plaintiff                          )
                                v.                              )      Case No.    19-cv-1143
                     John Baldwin, et al.                       )
                            Defendant                           )

                                                 APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Plaintiff Mark Scott                                                                                           .


Date:          03/13/2023                                                                /s/: Brad Thomson
                                                                                         Attorney’s signature

                                                                                           Brad Thomson
                                                                                     Printed name and bar number

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                               1:19-cv-01143-CSB # 58     Page 2 of 2

                              UNITED STATES DISTRICT COURT
                           FOR THE CENTRAL DISTRICT OF ILLINOIS



                 Mark Scott                     )
                   Plaintiff                    )
                      v.                        )     Case No. 19-cv-1143
             John Baldwin, et al.               )
                  Defendant                     )


                                    CERTIFICATE OF SERVICE

                   03/13/2023
I certify that on _______________, I electronically filed the foregoing with the Clerk of the

Court using the CMECF system which will send notification of such filing to the following:

 all counsel of record
_____________________________________________________________________________,

and I certify that I have mailed by the United States Postal Service the document to the following

non CMECF participants:

_____________________________________________________________________________.




                                                            /s/: Brad Thomson
                                                            Attorney’s signature

                                                              Brad Thomson
                                                       Printed name and bar number

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